        IN THE UNITED STATES DISTRICT COURT
    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                HUNTINGTON DIVISION

NAOMI SPENCER DALY and         )
DARRELL CASTLE                 )
                               )
                  Plaintiffs,  )
                               )
                  v.           )                   3:16-cv-08981
                                        Civil No. ________________
                               )
NATALIE TENNANT,               )
in her official capacity as    )
Secretary of State of the      )
State of West Virginia,        )
                               )
                  Defendant.   )
_______________________________)

                    VERIFIED COMPLAINT

                       Nature of the Case

     1.    This is an action under 42 U.S.C. § 1983 to enforce

rights guaranteed to the plaintiffs by the First and Fourteenth

Amendments to the United States Constitution. At issue is the

West Virginia Secretary of State’s decision to remove 17

independent candidates from the general election ballot based on

a recent decision of the West Virginia Supreme Court interpreting

West Virginia Code § 3-5-7. See Wells v. State ex rel. Miller, No.

16-0779 (W.Va. Sept. 15, 2016). The Secretary of State interprets
that decision to impose a January filing deadline on independent

candidates who seek to appear on the November ballot, and she

applied that interpretation retroactively against the plaintiffs.

Both the deadline and its retroactive application are patently

unconstitutional.

                     Jurisdiction and Venue

     2.     This Court has original jurisdiction over this case

under Article III of the United States Constitution and 28 U.S.C.

§§ 1331 and 1343(a)(3).

     3.     This suit is authorized by 42 U.S.C. § 1983.

     4.     Declaratory relief is authorized by 28 U.S.C. §§ 2201

and 2202.

     5.     Venue is proper in the Southern District of West

Virginia under 28 U.S.C. § 1391(b).

                              Parties

     6.     Plaintiff Naomi Spencer Daly is a United States citizen

and a citizen of the State of West Virginia. She is a resident and

registered voter of Cabell County, West Virginia. She is the




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Socialist Equality Party’s nominee for the West Virginia House of

Delegates in District 16.

      7.    Plaintiff Darrell Castle is a United States citizen and a

citizen of the State of Tennessee. He is the Constitution Party’s

nominee for President of the United States in the 2016 general

election.

      8.    Defendant Natalie Tennant is the Secretary of State of

the State of West Virginia and is charged by statute with

certifying independent candidates for statewide and legislative

offices for the general election ballot. She is sued in her official

capacity only.

                       Factual Background

      9.    West Virginia law creates a two-tiered ballot-access

scheme for candidates seeking to run in the general election for

partisan offices: one for candidates of recognized parties, and one

for all other candidates.

      10.   Recognized parties may nominate their candidates for

the general election ballot by convention or primary election.




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      11.   The nominating process for other candidates (also

known as independent or “no party” candidates, even though such

candidates may, as is the case here, be affiliated with an

unrecognized party) is governed by West Virginia Code §3-5-23

and §3-5-24 and is described on the Secretary of State’s website at

http://www.sos.wv.gov/elections/candidates-

committees/Pages/nopartyaffiliation.aspx. See Exhibit 1.

      12.   According to the Secretary of State’s website, “To

become a no party candidate in the General Election, an

individual must submit his or her petition signatures, certificate

of announcement, and filing fee with the appropriate filing officer

by August 1, 2016.”

      13.   Each of the plaintiffs is affiliated with an unrecognized

political party.

      14.   Each of the plaintiffs submitted a nominating petition

containing a sufficient number of signatures, a certificate of

announcement, and filing fee to the Secretary of State before

August 1, 2016.




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      15.   Each of the plaintiffs received notice on or about

August 25, 2016, that they had qualified for the general election

ballot.

      16.   On or about Thursday, September 15, 2016, the West

Virginia Supreme Court released its opinion in Wells v. State ex

rel. Miller, No. 16-0779 (W.Va. Sept. 15, 2016).

      17.   On the evening of Friday, September 16, each of the

plaintiffs was notified by an agent for the Secretary of State that

they were being removed from the general election ballot based on

the Wells decision.

      18.   The notification stated that the Wells decision meant

that independent candidates must have filed a certificate of

announcement no later than January 30, 2016, in order to appear

on the general election ballot in November.

      19.   None of the plaintiffs filed a certificate of

announcement prior to January 30, 2016.

                             Claim One

      20.   West Virginia’s ballot access scheme for independent

candidates, as applied to the plaintiffs, violates rights guaranteed



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to the plaintiffs by the First and Fourteenth Amendments to the

United States Constitution, as enforced by 42 U.S.C. § 1983.

                            Claim Two

     21.   The Secretary of State’s retroactive application of her

interpretation of the Wells decision violates rights guaranteed to

the plaintiffs by the Due Process Clause of the Fourteenth

Amendment to the United States Constitution, as enforced by 42

U.S.C. § 1983.

                               Relief

     22.   A real and actual controversy exists between the

parties.

     23.   The plaintiffs have no adequate remedy at law other

than this action for declaratory and equitable relief.

     24.   The plaintiffs are suffering irreparable harm as a

result of the violations complained of herein, and that harm will

continue unless declared unlawful and enjoined by this Court.



WHEREFORE, the plaintiffs respectfully pray that this Court:

      (1) take original jurisdiction over this case;



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    (2) enter a declaratory judgment that West Virginia’s ballot

    access scheme for independent candidates, as applied to the

    plaintiffs, violates rights guaranteed to the plaintiffs by the

    First and Fourteenth Amendments to the United States

    Constitution, as enforced by 42 U.S.C. § 1983;

    (3) enter a declaratory judgment that the Secretary of

    State’s retroactive application of her interpretation of the

    Wells decision violates rights guaranteed to the plaintiffs by

    the Due Process Clause of the Fourteenth Amendment to

    the United States Constitution, as enforced by 42 U.S.C. §

    1983;

    (4) enjoin the Secretary of State from enforcing her new

    interpretation of West Virginia’s ballot access scheme for

    independent candidates against the plaintiffs and other

    similarly situated independent candidates;

    (5) issue a writ of mandamus requiring the Secretary of

    State to restore the plaintiffs and other similarly situated

    independent candidates to the general election ballot;

    (6) award the plaintiffs nominal damages;



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      (7) award the plaintiffs the costs of this action together with

      their reasonable attorneys’ fees under 42 U.S.C. § 1988; and

      (8) retain jurisdiction of this action and grant the plaintiffs

      any further relief which may in the discretion of the Court

      be necessary and proper.



Respectfully submitted this 19th day of September,

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